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                     IN THE UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 IN RE:
                                                    CASE NO. 22-40503
 SERVICE ONE, LLC                                   CHAPTER 11
                                                    (Subchapter V)
                                Debtor

 MARK A. WEISBART, SUBV CHAPTER 11
 TRUSTEE OF SERVICE ONE, LLC

                                PLAINTIFF
 V.                                                 Adversary No. 22-04045

 TRASH CHOMPER, LLC

                                DEFENDANT


                          CERTIFICATE OF SERVICE OF ORDER

        The undersigned hereby certifies that a copy of the Order Granting Plaintiff’s Request for
Emergency Hearing on Plaintiff’s Motion for Temporary Restraining Order and Preliminary
Injunction [Doc 7], was served on the following listed persons as reflected below via email and first-
class United States Mail, postage prepaid on this the 24th day of August 2022.

                                                      /s/ James S. Brouner
                                                      James S. Brouner




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